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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO
                                 Bankruptcy Judge Elizabeth E. Brown


 In re:
                                                              Bankruptcy Case No. 14-16938 EEB
 LAKEVIEW DEVELOPMENT                                         Chapter 11
 CORPORATION,

 Debtor.


       ORDER GRANTING UNITED STATES TRUSTEE'S MOTION TO CONVERT

          THIS MATTER came before the Court for trial on the Motion to Convert Chapter 11
 Case to Case Under Chapter 7 Pursuant to 11 U.S.C. § 1112(b) and for Dissolution [of the]
 Official Unsecured Creditors’ Committee (“Motion to Convert”), filed by the United States
 Trustee (the “UST”), and the Objection filed by David Summers (“Mr. Summers”), an unsecured
 creditor who is also the Debtor’s president. Although this Court has taken over the case rather
 late in the game,1 the clear picture that emerged from the hearing on this matter was Mr.
 Summers’ unwillingness to let go of the project that has been the center of his life for ten years,
 despite overwhelming evidence that it is no longer feasible.

 I.       BACKGROUND AND RELEVANT FACTS

          The Debtor owns and had begun development of a residential real estate project on 152
 acres in Loveland, Colorado. Only some initial infrastructure and platting work occurred before
 this project ran into financial difficulties. In response, the Debtor filed chapter 11 nearly two
 years ago. After more than one year in chapter 11, the Court ordered the appointment of a
 chapter 11 trustee due to the fact that the Debtor had been unable to confirm a plan, little had
 been accomplished other than delay caused by disputes between the Debtor and its creditors,
 there were extraordinarily high administrative expenses, the Debtor had no source of revenue
 other than borrowing, and the Debtor had failed to pursue potential avoidance claims against Mr.
 Summers. The Court approved the UST’s selection of Joli Lofstedt as chapter 11 trustee (the
 “Trustee”) on June 23, 2015. About four months later, on October 30, 2015, the Court granted
 relief from the automatic stay to foreclose on the entire project to the Debtor’s primary secured
 creditors, Baltz Family Limited Partners, Ltd. and Pioneer Investments & Holdings LLC
 (together “Baltz”).

         The UST asserts that Baltz would have to consent to any proposed plan of reorganization
 and that it is unwilling to do so. As such, the UST alleges that there is no longer any realistic
 possibility for reorganization of the Debtor, and that allowing the case to languish in chapter 11
 serves no purpose and is causing the estate to incur unnecessary expense. Mr. Summers argues

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  On the retirement of the Hon. Sidney B. Brooks on January 3, 2016, this case was reassigned to Judge Elizabeth E.
 Brown.
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 that conversion to chapter 7 is “premature,” until new owners purchase the property from Baltz.
 He asserts that the Debtor owns certain specialized equipment, intellectual property, documents,
 and information that are not subject to Baltz’ liens, and that once the new owners are known, the
 Debtor will be in a better position to negotiate for a bulk sale of these remaining assets. He
 argues that if the Debtor stays in chapter 11 as a “dormant but functioning business entity,” it
 will have a better chance to maintain a positive working relationship with the Lakeview
 Metropolitan District (the “District”) and a better chance to recover its claim of in excess of $6
 million against District. Finally, he maintains that the estate’s expenses for remaining in chapter
 11 are minimal.

         The only two witnesses to testify at the hearing were the Trustee and Staci Wetzler, a
 member of the unsecured creditors’ committee. Mr. Summers, who is a licensed Colorado
 attorney, represented himself but elected not to testify. His evidence consisted only of the
 testimony of the Trustee and Ms. Wetzler and several documents from past proceedings in this
 case, including previous plans proposed by the Debtor and the Trustee.

         Ms. Wetzler’s testimony revealed little other than a level of animosity between herself
 and Mr. Summers and the existence of rumors concerning a possible sale of the property by
 Baltz. Her testimony was brief and provided no information relevant to any issues currently
 before the Court.

          The Trustee testified credibly concerning her efforts at reorganization and the current
 status of the estate. She stated that, upon being appointed Trustee, she immediately began
 working on and quickly filed a plan of reorganization, which provided for the continued
 development of the property and sale of lots. Her plan was filed prior to Baltz being granted
 relief from stay. The Trustee testified that, since relief from stay has been granted to Baltz, any
 plan providing for the continued development of the project is no longer an option unless Baltz
 consents to the treatment of its claim. She stated that, both before and after Baltz was granted
 relief from stay, she has tried to negotiate a consensual plan with Baltz but there has been no
 progress in these negotiations.

         She described the current assets of the estate other than the real property subject to Baltz’
 lien. There is $28,000 in cash in the estate’s bank account, some equipment and documents of
 unknown value, three modular office buildings that could be worth up to $6,000 each, a claim for
 greater than $6 million against the District for infrastructure costs, and avoidance claims of up to
 $2.3 million against Mr. Summers. The estate may also have a claim against the City of
 Loveland (the “City”) for reimbursement of road expansion expenses. The Trustee did not value
 the claim against the City. She testified that there is no chance for the estate to recover anything
 on the claim against the District until homes are built on the property and the District can issue
 bonds and assess the homeowners to pay the bonds. She believed that the claim against the City
 may be owed to the District rather than the Debtor, and is probably is not recoverable until all
 costs of the project, including some for unpaid engineering work, have been paid.

          The Trustee has been unable to further investigate or pursue the claims against the City or
 Mr. Summers because she has been unable to retain counsel. With only $28,000 of cash in the
 estate, she is unable to hire counsel whose fees would be on the same level of priority as the
 remaining $700,000 - $800,000 in unpaid chapter 11 administrative expenses. The Trustee’s

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 inability to retain counsel also prevents her from proceeding with a simplified chapter 11 plan
 that would call for the liquidation of the estate’s non-real property assets. The Trustee agreed
 with Mr. Summers that a bulk sale of the estate’s specialized equipment and modular buildings
 to the future owner of the real property would realize a greater return than an auction sale, but
 she also believed that a sale to the future owner could be as easily accomplished in a chapter 7
 proceeding. The Trustee further testified that the extent of administrative insolvency in this case
 has prevented her from retaining an accountant, which is necessary to prepare and file payroll
 and income tax returns.

        According to the Trustee, the expenses of maintaining the case in chapter 11 are the
 UST’s fees of $325 per quarter, plus the cost of insurance and utilities. While admittedly these
 expenses are not exorbitant, especially when compared to the prior level of administrative
 expenses incurred in the case, they do continue to diminish the assets of the estate, which has no
 ongoing source of income.

         Thus, the estate is currently in a holding pattern. The Trustee has no reasonable prospect
 for a reorganization plan and, without counsel, is unable to pursue even a liquidating plan or the
 estate’s potentially significant claims against third parties. With respect to the estate’s potential
 avoidance claims, this holding pattern is particularly harmful because the statute of limitations
 for asserting such claims is fast approaching. Moreover, this holding pattern is likely to continue
 for an indefinite period of time. It does not appear that Baltz has yet begun the foreclosure
 process and, when it does, it will likely have to file for a judicial foreclosure, instead of a public
 trustee foreclosure, due to mechanics lien claims. Thus, Baltz is unlikely to secure a purchaser
 for the property for quite some time.

 II.        DISCUSSION

            A. Cause for Conversion or Dismissal Exists Under § 1112(b)(1)

         Section 1112(b)(1)2 establishes a two-step process for determining whether dismissal or
 conversion of a chapter 11 case is appropriate. The Court “first determines whether there is
 ‘cause’ to convert or dismiss,” and if cause is found, the Court considers whether “conversion or
 dismissal . . . [is in the] best interest of creditors and the estate.” In re American Capital
 Equipment, LLC, 688 F.3d 145, 161 (3rd Cir. 2012). Section 1112(b)(4) provides a
 nonexhaustive list of grounds upon which a bankruptcy court may dismiss or convert a chapter
 11 case for “cause.” In re Frieouf, 938 F.2d 1099, 1102 (10th Cir. 1991). In addition to the
 circumstances listed in § 1112(b)(4), courts may find cause for other equitable reasons. In re
 Whetten, 473 B.R. 380, 382 (Bankr. D. Colo. 2012). The movant bears the burden of
 establishing cause by a preponderance of the evidence. In re ARS Analytical, LLC, 433 B.R.
 848, 861 (Bankr. D.N.M. 2010). If cause is established, § 1112 provides that the Court shall
 convert or dismiss, unless there are “unusual circumstances” that establish that such relief is not
 in the best interest of creditors and the estate. §§ 1112(b)(1), (b)(2). Once cause is
 demonstrated, the burden shifts to the opposing party to prove “unusual circumstances.” In re
 Whetten, 473 B.R. at 382.


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     This and all other references to “section” or “§” are to Title 11, United States Code.

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         The UST argues that there is cause for conversion or dismissal under § 1112(b)(4)(A)
 because of “substantial or continuing loss to or diminution of the estate and the absence of a
 reasonable likelihood of rehabilitation.” The Court agrees. The evidence was overwhelming
 and uncontroverted that there is no reasonable likelihood of rehabilitation of this Debtor. The
 Court credits the testimony of the Trustee that she has tried repeatedly to negotiate with Baltz,
 but has failed to reach agreement on a plan that would allow the Debtor to continue its
 development. The Court finds that there is no reasonable prospect for such a plan. Even Mr.
 Summers concedes that a plan that contemplates further development and sale of the real
 property by the Debtor is not possible. He argues only for a liquidating plan of the Debtor’s non-
 real estate assets or the postponement of conversion for some indefinite period of time.

         While the monthly or quarterly expenses of maintaining this case in chapter 11 are not
 large, they are causing a continuing loss to and diminution of the estate where there is no source
 of income to pay them. Additionally, the Court finds that the Trustee’s inability to investigate or
 pursue the estate’s large claims against the District, the City, and particularly the avoidance
 claims against Mr. Summers, poses a very significant threat of substantial loss to the estate if the
 case remains in chapter 11 for even a few more months. The Trustee was appointed on June 23,
 2015 and, pursuant to § 546(a), the statute of limitations for avoidance claims will expire on June
 23, 2016. Additionally, the estate’s inability to hire an accountant to file necessary tax returns
 threatens the estate with liability for penalties and interest on any taxes ultimately determined to
 be due.

        Even if the Court were to conclude that the expenses of maintaining the case in chapter
 11 did not result in continuing loss to and diminution of the estate, the extreme administrative
 insolvency of this estate and the lack of any source of income, which has rendered the Trustee
 powerless to pursue any further administration of the estate under chapter 11, is sufficient cause
 to dismiss or convert this case on equitable grounds not specifically listed in § 1112(b)(4).
 Without the ability to hire counsel or accountants, the Trustee is unable to accomplish anything
 of benefit to any party in interest while the case wastes away in chapter 11.

        B. The Unusual Circumstances Exception Under § 1112(b)(2) Does Not Apply

         Section 1112(b)(2) of the Code provides a limited exception to the rule of mandatory
 conversion or dismissal if “cause” is established. This section shifts the burden to the party
 opposing conversion or dismissal to establish “unusual circumstances” demonstrating that
 conversion or dismissal is not in the best interests of creditors and the estate. In re Whetten, 473
 B.R. at 384. The Code does not define “unusual circumstances,” but the term contemplates
 “conditions that are not common in chapter 11 cases.” In re Prods. Int’l Co., 395 B.R. 101, 109
 (Bankr. D. Ariz. 2008).

         In addition to establishing “unusual circumstances,” the party opposing conversion or
 dismissal must satisfy a four-part test by demonstrating that: (1) there is a reasonable likelihood
 that a plan will be confirmed within a reasonable time, (2) the cause for dismissal or conversion
 is other than continuing loss or diminution to the estate without reasonable likelihood of
 rehabilitation, (3) there is a reasonable justification for the act or omission of the debtor
 constituting cause and (4) the act or omission will be cured within a reasonable time.


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 § 1112(b)(2)(A) and (B); In re Whetten, 473 B.R. at 384 (citing 7 Collier on Bankruptcy ¶
 1112.05[2] (Alan N. Resnick and Henry J. Sommer eds., 16th ed.)).

         The Court finds that Mr. Summers failed, on several grounds, to establish that this
 exception applies. First, the Court finds that he failed to establish the existence of “unusual
 circumstances.” He repeatedly argued that the specialized and unique nature of the Debtor’s
 equipment and intellectual property makes them more valuable when sold in bulk to a potential
 purchaser rather than piecemeal at an auction. This may very well be true with respect to the
 equipment, and the Trustee in fact agreed with Mr. Summers on this point. However, he
 presented no evidence of the current value of these assets, either at bulk sale or auction.3 No
 intellectual property is listed or valued as an asset in the Disclosure Statement. Additionally,
 there is no reason why a bulk sale of the assets cannot be accomplished in a chapter 7 case rather
 than in chapter 11. The nature of these assets and their value to a purchaser of the real property
 does not constitute “unusual circumstances,” at least not to the extent that it outweighs the harm
 to creditors that will result from leaving the case in chapter 11 with a Trustee that is unable to
 administer the avoidance and other claims of the estate, which have potentially much greater
 value for creditors.

         Mr. Summers also argued that maintaining the Debtor in chapter 11 as a “dormant but
 functioning business entity,” would allow it to maintain a positive working relationship with the
 District and give it a better chance to recover its claim against the District. But again, he totally
 failed to present any evidence of why this would be so, and the Court is unable to discern the
 basis for this contention. This amorphous argument fails to constitute “unusual circumstances.”

         However, even if “unusual circumstances” had been established, Mr. Summers failed to
 meet two of the four parts of the test, found in § 1112(b)(2)(A) and (B). He did not establish that
 there is a reasonable likelihood that a plan will be confirmed within a reasonable time, and the
 “cause” for dismissal or conversion is substantial or continuing loss to or diminution of the estate
 and the absence of a reasonable likelihood of rehabilitation, not something that may be readily
 cured.

         C. Conversion is in Creditors’ Best Interests

         Having found “cause” under § 1112(b)(1) and (b)(4)(A), and that the unusual
 circumstances exception of § 1112(b)(2) does not apply, the Court next turns to the appropriate
 remedy. It finds that conversion, rather than dismissal, is clearly in the best interests of creditors
 and the estate. Conversion to chapter 7 will allow the estate to retain an attorney and accountant
 whose fees will be accorded higher priority than the unpaid chapter 11 administrative expenses.
 Once counsel is retained, the estate will be able to investigate and pursue the significant
 avoidance and other claims it has against third parties. A chapter 7 trustee will have the option
 to wait until the new owner of the property is known and to negotiate a bulk sale of the
 equipment and modular buildings with the new owner. Though it may be some time before the
 estate can recover on its claim against the District, the case could be administratively closed,

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  The Disclosure Statement filed by the Debtor’s board of directors on July 17, 2015 reflects that the scheduled
 value of unencumbered machinery and equipment, furniture, fixtures, and signage was $24,575. No intellectual
 property is mentioned in the Disclosure Statement. Some of the intellectual property may also, to some extent, be
 subject to a statutory lien of the engineers, who have yet to be paid in full for their work on this project.

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 without abandonment of this asset and reopened at such time as the District is able to issue bonds
 and repay its debt.

          If the case is dismissed, any possibility for a chapter 7 trustee to utilize the Code’s
 avoidance powers to obtain some return for and an equitable distribution between creditors will
 be lost. These avoidance claims, which could amount to between $150,000 and $2.3 million,
 represent the greatest chance for a prompt recovery of some value from this estate.

         Although in his argument, Mr. Summers vaguely referred to the maintenance of the
 Debtor as an “operating entity,” as having some positive effect on the estate’s ability to recover
 on the claim against the District, neither party presented any evidence concerning what would
 happen to the Debtor’s claims against the District in the event the case is dismissed, so the Court
 cannot find that dismissal would give the Debtor a greater chance for recovery against the
 District, or that any such recovery would be equitably distributed. All told, the Court finds no
 benefit to dismissal of this case compared with conversion to chapter 7.

 III.   CONCLUSION

          In his opening statement Mr. Summers stated that, “the Debtor was intricately tied for a
 decade to my life, my financial future, and my career.” In his view, he is the only one who has
 not completely given up on the project. He argues, somewhat desperately, for the Court to delay
 making the decision on conversion for some unstated period of time. He presented no evidence,
 however, that more delay in this case will accomplish anything of benefit to creditors or the
 estate. Unfortunately, the reality is that Mr. Summers is much too personally invested in the
 Debtor to let it go and see it finally come to an end in chapter 7. It is time for all involved to
 accept that the chapter 11 process is no longer a viable means to rehabilitate the Debtor, and that
 the best interest of creditors and the estate would be served by immediate conversion of this case
 to chapter 7. Moreover, the potential avoidance claims against Mr. Summers will be lost in a
 few months if this case is not converted.

        Based on the foregoing, it is hereby

        ORDERED that the United States Trustee’s Motion to Convert is GRANTED. It is

        FURTHER ORDERED that this case is converted to chapter 7. It is

        FURTHER ORDERED that the unsecured creditors’ committee is dissolved.

        Dated this 11th day of April, 2016.
                                                      BY THE COURT:


                                                      Elizabeth E. Brown, Bankruptcy Judge




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